      Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 1 of 19




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14
                                 UNITED STATES DISTRICT COURT
15
              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16

17
   IN RE: CATHODE RAY TUBE (CRT)                     Master File No. 3:07-cv-05944-SC
18 ANTITRUST LITIGATION
                                                     MDL No. 1917
19
     This Document Related to:                       DEFENDANT LG ELECTRONICS, INC.’S
20                                                   NOTICE OF MOTION AND MOTION
     DIRECT PURCHASER ACTIONS                        FOR PARTIAL SUMMARY JUDGMENT
21                                                   ON WITHDRAWAL GROUNDS AND
                                                     MEMORANDUM OF POINTS AND
22                                                   AUTHORITIES IN SUPPORT THEREOF
                                                     -Redacted
23
                                                     [Declaration of Cathleen H. Hartge,
24                                                   Declaration of Duk Chul Ryu and
                                                     [Proposed] Order filed concurrently
25                                                   herewith]
26                                                   Judge: Honorable Samuel Conti
                                                     Date: February 6, 2015
27                                                   Time: 10:00am
                                                     Crtrm.: 1, 17th Floor
28
                                                                 Master File No. 3:07-cv-05944-SC
               LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
      Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 2 of 19




 1       NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
 2 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE THAT on February 6, 2015 at 10:00 a.m. or as soon thereafter

 4 as counsel may be heard, in the Courtroom of the Honorable Samuel Conti, located at 450 Golden

 5 Gate Avenue, 17th Floor, Courtroom 1, San Francisco, California, 94102, defendant LG

 6 Electronics, Inc. (“LGE”) will move the Court, pursuant to Federal Rule of Civil Procedure 56, for

 7 partial summary judgment.

 8          For the reasons explained in the accompanying Memorandum of Points and Authorities,

 9 LGE is entitled to partial summary judgment with respect to any damages incurred by any direct

10 action plaintiff (“DAP”) after LGE sold its cathode ray tube (“CRT”) assets on July 1, 2001 (“the

11 withdrawal date”). The undisputed facts and record show that, by transferring its CRT assets to

12 another company, becoming a CRT purchaser rather than a seller; publicizing that transfer to its

13 alleged co-conspirators; and refraining from participating in any CRT price-fixing activity

14 thereafter, LGE withdrew from any alleged CRT conspiracy and is not liable for any damages

15 accrued after the withdrawal date.

16          This motion is based on this Notice of Motion, the following Memorandum of Points and

17 Authorities, the Declaration of Cathleen H. Hartge (hereinafter “Hartge Decl.”), the Declaration of

18 Duk Chul Ryu (hereinafter “Ryu (LGE) Decl.”), LGE’s Request for Judicial Notice, and any

19 materials attached thereto or otherwise found in the record, along with the argument of counsel

20 and such other matters as the Court may consider.

21                                            Respectfully submitted,

22 DATED: November 7, 2014                    MUNGER, TOLLES & OLSON LLP
23

24
                                              By:        /s/ Jerome C. Roth
25                                                  JEROME C. ROTH
26
                                              Attorneys for Defendants LG ELECTRONICS, INC.,
27                                            LG ELECTRONICS U.S.A., INC., and LG
                                              ELECTRONICS TAIWAN TAIPEI CO., LTD.
28
                                                1                 Master File No. 3:07-cv-05944-SC
                LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
          Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 3 of 19




 1                                                        TABLE OF CONTENTS
 2                                                                                                                                               Page
 3
     QUESTION PRESENTED ............................................................................................................... 1
 4
     SUMMARY OF ARGUMENT ........................................................................................................ 1
 5
     STATEMENT OF UNDISPUTED MATERIAL FACTS ................................................................ 2
 6
     I.        Formation of the LGE-Philips CRT Joint Venture ............................................................... 2
 7
     II.       LGE’s Conduct After the Formation of LPD ........................................................................ 5
 8
     III.      Relevant Procedural History ................................................................................................. 5
 9
     LEGAL STANDARD ....................................................................................................................... 6
10
     ARGUMENT .................................................................................................................................... 6
11
     I.        Legal Standard....................................................................................................................... 7
12
     II.       LGE’s Sale of Its CRT Assets, Coupled with Its Communication of that Sale to
13             Alleged Co-Conspirators, Establishes LGE’s Withdrawal from the Alleged
               Conspiracy ............................................................................................................................. 8
14
               A.         LGE’s Sale of Its CRT Business, and Its Shift from Being a CRT Seller to a
15                        CRT Buyer, Were Inconsistent with the Object of the Alleged Price-Fixing
                          Conspiracy. ................................................................................................................ 8
16
               B.         LGE’s Sale of Its CRT Business Was Well-Publicized, Putting Alleged Co-
17                        Conspirators on Notice as to Its Withdrawal ............................................................ 9
18 III.        Fundamental Notions of Corporate Separateness Preclude Holding LGE Liable for
               LPD’s Conduct .................................................................................................................... 11
19
               A.         LGE Did Not Participate in the Conspiracy After Selling Its CRT Business ......... 12
20
               B.         LPD Is Not An Alter Ego or Agent of LGE ............................................................ 13
21
     CONCLUSION ............................................................................................................................... 13
22

23

24

25

26

27

28                                                                              3:07-MD-05944-SC
                                                    -i-
                     LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
         Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 4 of 19




 1                                                   TABLE OF AUTHORITIES
 2                                                                                                                                      Page
 3 FEDERAL CASES

 4 Anderson v. Liberty Lobby, Inc.,
      477 U.S. 242 (1986) .................................................................................................................. 6
 5
   Armco Steel Co. v. CSX Corp.,
 6
      790 F. Supp. 311 (D.D.C. 1991) ............................................................................................... 6
 7
   Celotrex Corp. v. Catrett,
 8    477 U.S. 317 (1986) .................................................................................................................. 6

 9 Drinkwine v. Federated Publ’ns, Inc.,
      780 F.2d 735 (9th Cir. 1985) ................................................................................................... 11
10
   Drug Mart Pharmacy Corp. v. Am. Home Products Corp.,
11    288 F. Supp. 2d 325 (E.D.N.Y. 2003) ....................................................................................... 6
12
   H.J. Inc. v. Int’l Tel. & Tel. Corp.,
13    867 F.2d 1531 (8th Cir. 1989) ....................................................................................... 2, 11, 12

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       627 F.3d 376 (9th Cir. 2010) ..................................................................................................... 6
15
   In re Potash Litig.,
16     954 F. Supp. 1334 (D. Minn. 1997) ........................................................................................ 10
17
   Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
18    475 U.S. 574 (1986) .................................................................................................................. 6

19 Morton’s Market Inc. v. Gustafson’s Dairy, Inc.,
      198 F.3d 823 (11th Cir. 1999) ..................................................................................... 6, 7, 8, 10
20
   Smith v. United States,
21    133 S. Ct. 714 (2013) ................................................................................................................ 7
22 United States v. Bestfoods,

23    524 U.S. 51 (1998) .............................................................................................................. 2, 11

24 United States v. Goldberg,
      401 F.2d 644 (2d Cir. 2000) ...................................................................................................... 6
25
   United States v. Lothian,
26    976 F.2d 1257 (9th Cir. 1992) ................................................................................................... 7
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      62 F. Supp. 2d 173 (D. Mass. 1999) ..................................................................................... 8, 9
28                                                                                                            3:07-MD-05944-SC
                                                       -ii-
                      LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
         Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 5 of 19




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      409 F.2d 789 (9th Cir. 1969) ..................................................................................................... 7
 2
   United States v. U.S. Gypsum Co.,
 3    438 U.S. 422 (1978) ......................................................................................................... passim
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   Virginia v. McKesson Corp.,
 5    No. C 11-02782 SI, 2013 WL 1287423 (N.D. Cal. Mar. 28, 2013).......................................... 8

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 9 James M. Dorsey, Philips Electronics, Korea’s LG Expand Tie-Ups—Cathode-Ray Tube
      Venture, Talks on Mobile Phones Follow Big Screens Deal, Wall St. J., Nov. 28, 2000 ... 3, 10
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11 LG Elec Says Philips Deal Almost Done, Reuters, Nov. 27, 2000 ........................................... 3, 10

12 LG, Philips to Establish CRT Joint Venture, Xinhua News Agency, Nov. 28, 2000 ............... 3, 10

13 Sunny Yang, LG Electronics Says Philips Tie Cures Ills, Korea JoongAng Daily, Nov. 28,
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17

18

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20

21

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25

26

27

28
                                                      -iii-                       3:07-MD-05944-SC
                       LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
         Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 6 of 19




 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2                                      QUESTION PRESENTED
 3           Whether LGE has established, as a matter of law, that it withdrew from any alleged CRT
 4 price-fixing conspiracy by (1) selling all of its CRT assets to a separate company in which it was a

 5 non-controlling shareholder, becoming a CRT buyer rather than a CRT seller; (2) publicizing the

 6 sale of its CRT assets widely to international media, and thus to its alleged co-conspirators; and

 7 (3) engaging in no conspiratorial activities after the sale of its CRT assets.

 8                                    SUMMARY OF ARGUMENT
 9           LGE is entitled to partial summary judgment as to any damages incurred by DAPs after

10 July 1, 2001—the date LGE exited the CRT business and withdrew from any alleged price-fixing

11 conspiracy by divesting its CRT assets to LG.Philips Displays (“LPD”),1 an independent joint

12 venture company majority-owned by Koninklijke Philips Electronics N.V. (“Philips”). After that

13 date, LGE did not manufacture or sell CRTs. Instead, LGE purchased CRTs for incorporation into

14 the televisions and computer monitors that it manufactured.

15           LGE may establish that it withdrew from any alleged conspiracy by demonstrating (1) that
16 it engaged in “[a]ffirmative acts inconsistent with the object of the conspiracy,” (2) that were

17 “communicated in a manner reasonably calculated to reach co-conspirators.” United States v. U.S.

18 Gypsum Co., 438 U.S. 422, 464–65 (1978). The undisputed facts show that these requirements

19 have been satisfied.

20           First, LGE’s divestiture of its CRT business marked its withdrawal from the alleged price-

21 fixing conspiracy in 2001. After selling its CRT assets, LGE became a CRT purchaser rather than

22 a CRT producer. The undisputed evidence shows that LGE not only ceased to participate in the

23 alleged collusive activities with respect to CRT pricing or production, but sought to obtain

24 competitive CRT prices from all CRT suppliers, including from LPD.

25
     1
26   In 2001, the abbreviated form of the joint venture’s name was “LGPD.” Best Buy First
   Amended Complaint (“Best Buy Am. Compl.”) Oct. 3, 2013, ECF No. 1978, ¶ 36. LG.Philips
27 Displays changed its name in 2007 to LP Displays, or “LPD” for short. Id. ¶ 39. Because the
   parties typically refer to the joint venture as “LPD,” we too do so for convenience.
28 25092114.1                                                                           3:07-MD-05944-SC
                                                       1
                LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
      Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 7 of 19




 1           Second, LGE’s divestment of its CRT assets was well-publicized, putting alleged co-

 2 conspirators on notice as to its withdrawal. The sale was widely reported by prominent news

 3 organizations with global readership. Moreover, the contemporaneous records of alleged co-

 4 conspirators, and the testimony by their employees, confirm that the alleged co-conspirators were

 5 aware of LGE’s withdrawal.

 6           That LGE held a partial ownership interest in LPD until the latter’s bankruptcy and

 7 eventual dissolution does not create a triable issue. Fundamental principles of corporate

 8 separateness preclude holding LGE liable for LPD’s conduct solely on the basis of LGE’s part

 9 ownership of LPD. See United States v. Bestfoods, 524 U.S. 51, 61 (1998). There are only two

10 circumstances under which a parent company can be held liable for a subsidiary’s antitrust

11 violations: (1) if the parent “performed acts sufficient to create liability[] or actively influenced

12 [the subsidiary] in its violations”; or (2) the subsidiary is an alter ego or agent of the parent. See

13 H.J. Inc. v. Int’l Tel. & Tel. Corp., 867 F.2d 1531, 1549 (8th Cir. 1989). Neither exception applies

14 based on the undisputed evidence in this case.

15                       STATEMENT OF UNDISPUTED MATERIAL FACTS
16           I.     Formation of the LGE-Philips CRT Joint Venture
17           Prior to 2001, LGE and Philips each produced CRTs, a type of component used in

18 manufacturing certain televisions and computer monitors (both sometimes referred to as “CRT

19 finished products”). See Hartge Decl. Ex. 6 (Duk Chul Ryu (LGE) Dep. 22:1–24:1); Ex. 22 (Frans

20 Spaargaren (Philips) Dep. 15:15-22); Ex. 9 (Spaargaren Dep. Ex. 4001 ¶¶ 8–9, authenticated at

21 Spaargaren Dep. 15:15–25). Both companies also manufactured CRT finished products. On July

22 1, 2001, LGE and Philips each sold their respective CRT businesses to LPD. See, e.g., Best Buy

23 Am. Compl. ¶ 36. In exchange for its CRT assets, Philips received fifty percent of LPD’s shares

24 plus one share. LGE received the remaining shares. See Hartge Decl. Ex. 10 (Spaargaren Dep.

25 Ex. 6000, authenticated at Spaargaren Dep. 25:14–25 (Joint Venture Agreement)) Art 2.1; Ex. 23

26 (Young Bae Na (LGE) Dep. 38:9–25). LGE was a non-controlling shareholder of LPD. Hartge

27 Decl. Ex. 9 (Spaargaren Dep. Ex. 4001 ¶ 27); Ex. 22 (Frans Spaargaren (Philips) Dep. 139:10-

28 142:8).
                                                 -2-                         3:07-MD-05944-SC
                  LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
      Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 8 of 19




 1                                                                                        Hartge Decl.

 2 Ex. 22 (Frans Spaargaren (Philips) Dep. 142:10–143:11).

 3          LGE’s divestment of its CRT assets, and its formation of a CRT joint venture with Philips,

 4 was widely reported in major news media. See, e.g., Hartge Decl. Ex.1(Suzanne Kapner, LG of

 5 Korea and Philips Set Screen-Making Venture, N.Y. Times, Nov. 28, 2000,

 6 http://www.nytimes.com/2000/11/28/business/lg-of-korea-and-philips-set-screen-making-

 7 venture.html); Hartge Decl. Ex. 2 (James M. Dorsey, Philips Electronics, Korea’s LG Expand Tie-

 8 Ups—Cathode-Ray Tube Venture, Talks on Mobile Phones Follow Big Screens Deal, Wall St. J.,

 9 Nov. 28, 2000); Hartge Decl. Ex. 3(LG, Philips to Establish CRT Joint Venture, Xinhua News

10 Agency, Nov. 28, 2000); Hartge Decl. Ex. 4 (LG Elec Says Philips Deal Almost Done, Reuters,

11 Nov. 27, 2000); Hartge Decl. Ex. 5(Sunny Yang, LG Electronics Says Philips Tie Cures Ills,

12 Korea JoongAng Daily, Nov. 28, 2000,

13 http://koreajoongangdaily.joins.com/news/article/article.aspx?aid=1882016).

14                                                                                               See,
15 e.g., Hartge Decl. Ex. 20 (Thomas Heiser (Hitachi) Dep. (Mar. 18, 2014) 128:11–129:19); Hartge

16 Decl. Exs. 16, 17 (C.C. Liu (Chunghwa) Dep. 40:1–7, 524:23–525:11); Hartge Decl. Ex. 18

17 (Hirokazu Nishiyama (Panasonic) Dep. 38:24–39:7).

18          LGE’s divestment of its CRT assets was complete. LGE transferred to LPD all of its CRT
19 factories, see Hartge Decl. Ex. 19 (P.J. Lee (LGE) Dep. 48:21–49:11); Hartge Decl. Ex. 23

20 (Young Bae Na (LGE) Dep. 35:9–20), the properties on which the factories were located, Hartge

21 Decl. Ex. 23 (Young Bae Na (LGE) Dep. 35:9–20), its CRT technology, id. at 35:9–20, 37:15-24,

22 and its electronic information assets, such as email and other electronic data, see Hartge Decl. Ex.

23 14 (K.T. Kwon (LGE) Dep. 27:25–28:25).

24

25                                      See Hartge Decl. Ex. 10 (Spaargaren Dep. Ex. 6000 (Joint

26 Venture Agreement)) Art. 10.1.

27          LGE exerted no control over LPD. Hartge Decl. Ex. 22 (Frans Spaargaren (Philips) Dep.

28 143:19–23); Hartge Decl. Ex. 23 (Young Bae Na (LGE) Dep. 46:19–47:8); see also Hartge Decl.
                                               -3-                         3:07-MD-05944-SC
                LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
         Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 9 of 19




 1 Ex. 22 (Frans Spaargaren (Philips) Dep. 142:5–8)

 2                                                                   Any influence that LGE had in

 3 LPD’s business was limited to its right to appoint three members to LPD’s six-member

 4 Supervisory Board. Hartge Decl. Ex. 23 (Young Bae Na (LGE) Dep. 48:20–49:3); Hartge Decl.

 5 Ex.22 (Frans Spaargaren (Philips) Dep. 28:2–7, 29:2–4). This body had a circumscribed role in

 6 LPD’s management structure, limited to “provid[ing] high-level strategic advice to LPD’s

 7 management and aid[ing] LPD in determining business policies and how to implement those

 8 policies.” Hartge Decl. Ex. 9 (Spaargaren Dep. Ex. 4001 ¶ 41); see also Hartge Decl. Ex. 22

 9 (Frans Spaargaren (Philips) Dep. 26:19-27:4)

10                                                                                     . The Supervisory
11 Board “did not have management responsibilities over the price that LPD charged for CRTs, or

12 the volume of CRTs that LPD produced, or the customers that LPD sold to.” Hartge Decl. Ex. 9

13 (Spaargaren Dep. Ex. 4001 ¶ 43). Moreover, the members of the Supervisory Board had a

14 fiduciary duty to LPD to act in its best interests, independent of the interests of LGE or Philips.

15 See Hartge Decl. Ex.22 (Frans Spaargaren (Philips) Dep. 28:2–17); Hartge Decl. Ex. 9(Spaargaren

16 Dep. Ex. 4001 ¶ 45).

17           The responsibilities for “day-to-day management” of the joint venture were left to LPD’s
18 Group Management Team, which consisted of ten LPD officers and employees.2 Hartge Decl. Ex.

19 10 (Spaargaren Dep. Ex. 6000 (Joint Venture Agreement)) Art. 6.3.8; Hartge Decl. Ex. 9

20 (Spaargaren Dep. Ex. 4001 ¶¶ 31, 36). The Group Management Team’s purview included “the

21 financial and business affairs of LPD’s operational headquarters,” Hartge Decl. Ex. 9 (Spaargaren

22 Dep. Ex. 4001 ¶ 38),

23 Hartge Decl. Ex.22(Frans Spaargaren (Philips) Dep. 33:24–34:12); see also id. Ex. 23 (Young Bae

24 Na (LGE) Dep. 70:3-14).

25

26   2
     In September 2002, the Group Management Team was restructured to include only four high-
27 level LPD officials rather than ten. It was then renamed the Executive Board. Hartge Decl. Ex. 9
   (Spaargaren Dep. Ex. 4001 ¶ 32); Ex. 23 (Young Bae Na (LGE) Dep. 77:24–78:3).
28
                                               -4-                         3:07-MD-05944-SC
                LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
     Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 10 of 19




 1                                                                              Hartge Decl. Ex.10

 2 (Spaargaren Dep. Ex. 6000 (Joint Venture Agreement)) Art. 6.3.8; see Hartge Decl. Ex. 9

 3 (Spaargaren Dep. Ex. 4001 ¶ 42). Once the plans were approved by the Supervisory Board, it was

 4 the Group Management Team that was responsible for actually implementing the plans. Hartge

 5 Decl. Ex. 10 (Spaargaren Dep. Ex. 6000 (Joint Venture Agreement)), Art. 6.3.8; see Hartge Decl.

 6 Ex. 9 (Spaargaren Dep. Ex. 4001 ¶ 41).

 7          II.      LGE’s Conduct After the Formation of LPD
 8          After LGE divested its CRT business to LPD, LGE was no longer a CRT manufacturer. It

 9 was exclusively a CRT customer, buying CRTs for incorporation into its finished products. As

10 such, LGE sought the lowest CRT prices it reasonably could, whether from LPD or from any other

11 supplier. See Ryu (LGE) Decl. ¶ 4; Hartge Decl. Ex. 7 (Duk Chul Ryu (LGE) Dep. 239:20–240:2;

12 284:14–285:8). All transactions between LGE and LPD were conducted at arm’s length. Ryu

13 (LGE) Decl. ¶ 5; Hartge Decl. Ex.22 (Frans Spaargaren (Philips) Dep. 66:1–68:7, 145:11–16).

14 When it purchased CRTs from LPD, LGE regularly pushed back against LPD’s proposed prices.

15 Ryu (LGE) Decl. ¶ 5. LGE regularly purchased from other suppliers when LPD’s CRT prices

16 were not competitive. Id.

17          III.     Relevant Procedural History
18          Earlier in this litigation, LGE moved to dismiss DAPs’ claims, arguing that they were

19 time-barred because LGE had withdrawn from the alleged conspiracy in 2001 after selling its CRT

20 assets to LPD. See Philips’ Mot. to Dismiss & for J. on the Pleadings as to DAP’s Claims, Aug

21 17, 2012, ECF. No. 1319, at 7; Joinder of LG Defs. in Mot. to Dismiss Filed by Philips Defs.,

22 Aug. 20, 2012, ECF No. 1320, at 2. This Court declined to grant the motion, noting that “factual

23 questions” remained “at this stage” as to (1) whether fraudulent concealment tolled the limitations

24 period, and (2) the degree of “LG’s involvement in [LPD].” Order Adopting in Part & Modifying

25 in Part Special Master’s R&R on Defs.’ Mot. to Dismiss DAPs’ Compls., Aug. 21, 2013, ECF No.

26 1856, at 34–35 (“MTD Order”).

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28
                                                  -5-                         3:07-MD-05944-SC
                   LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
      Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 11 of 19




 1                                         LEGAL STANDARD
 2          Summary judgment is appropriate when there is no genuine issue of material fact and the
 3 moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). The party moving

 4 for summary judgment has the initial burden of identifying the absence of a genuine issue of

 5 material fact. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986); In re Oracle Corp.

 6 Sec. Litig., 627 F.3d 376, 387 (9th Cir. 2010).

 7          Where, as here, the moving party meets its burden, the non-moving party must identify

 8 facts showing that a genuine issue for trial exists. In re Oracle Corp. Sec. Litig., 627 F.3d at 387

 9 (citing Celotrex Corp. v. Catrett, 477 U.S. 317, 324 (1986)). The non-moving party may not rely

10 on the pleadings but must come forward with evidence—affidavits, depositions, answers to

11 interrogatories, or admissions—from which a jury could reasonably render a verdict in its favor.

12 Id. (citing Anderson, 477 U.S. at 252). “The nonmoving party must show more than the mere

13 existence of a scintilla of evidence” or “some ‘metaphysical doubt’ as to the material facts at

14 issue.” Id. (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986)).

15          When the material facts are not in dispute, it is appropriate for a court to resolve as a
16 matter of law whether a defendant withdrew from a conspiracy. See Drug Mart Pharmacy Corp.

17 v. Am. Home Products Corp., 288 F. Supp. 2d 325, 329 (E.D.N.Y. 2003) (citing as examples

18 United States v. Goldberg, 401 F.2d 644, 648–49 (2d Cir. 2000), and Morton’s Market Inc. v.

19 Gustafson’s Dairy, Inc., 198 F.3d 823, 839 (11th Cir. 1999)); see also Armco Steel Co. v. CSX

20 Corp., 790 F. Supp. 311, 322 (D.D.C. 1991) (“[O]n certain occasions, a court may find, as a

21 matter of law, that a conspirator withdrew from the conspiracy.”).

22                                              ARGUMENT

23          In its prior order, the Court concluded that factual questions regarding alleged fraudulent
24 concealment and the extent of “LG’s involvement in [LPD]” after LPD’s formation precluded

25 dismissal of the claims against LGE at the pleading stage. See MTD Order at 34–35. Neither

26 concern applies to this Motion. First, fraudulent concealment is not at issue, because LGE does

27 not seek summary judgment as to the entirety of DAP’s claims, but only as to damages incurred

28 after it withdrew from the alleged conspiracy. Second, as will be discussed in further detail below,
                                                   -6-                                 3:07-MD-05944-SC
                LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
      Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 12 of 19




 1 the factual record developed through extensive discovery regarding the nature and extent of LGE’s

 2 involvement in LPD’s business reveals no disputed issue of material fact that can defeat summary

 3 judgment. Given the lack of any genuine dispute of material fact as to LGE’s withdrawal on July

 4 1, 2001, this Court should grant LGE’s motion for partial summary judgment as to any alleged

 5 damages incurred by DAPs after that date.

 6          I.      Legal Standard
 7          A defendant’s withdrawal from a conspiracy “terminates [its] liability” for subsequent acts

 8 committed by former co-conspirators. Smith v. United States, 133 S. Ct. 714, 719 (2013). A

 9 defendant has withdrawn from a conspiracy if it has taken “[a]ffirmative acts” that are both “[1]

10 inconsistent with the object of the conspiracy and [2] communicated in a manner reasonably

11 calculated to reach co-conspirators.” United States v. U.S. Gypsum Co., 438 U.S. 422, 464–65

12 (1978); see also ABA Model Jury Instructions in Civil Antitrust Cases B-16 (antitrust defendant

13 can demonstrate withdrawal by showing that it (1) “engaged in conduct that was inconsistent with

14 the object of the conspiracy”; and (2) “acted in a manner reasonably calculated to notify co-

15 conspirators that it was no longer participating in the conspiracy”).

16          The withdrawal standard is a flexible one. The Supreme Court has emphasized that a court

17 should not “confin[e]” the inquiry to specific “circumscribed” means of withdrawal. See U.S.

18 Gypsum, 438 U.S. at 464. There is no need, for example, for a defendant to demonstrate that it

19 informed authorities of the conspiracy, or even that it “affirmatively notified” alleged co-

20 conspirators of its withdrawal. See id. at 463–64.

21          When a defendant is alleged to be part of a business conspiracy, it may establish

22 withdrawal by demonstrating that it exited the business, “severed all ties to the business, and

23 deprived the remaining conspirator group of the services which [it] provided to the conspiracy.”

24 Morton’s Market, Inc. v. Gustafson’s Dairy, Inc., 198 F.3d 823, 839 (11th Cir. 1999); see United

25 States v. Lothian, 976 F.2d 1257, 1264 (9th Cir. 1992) (discussing United States v. Reisman, 409

26 F.2d 789 (9th Cir. 1969)). While a “clean and permanent” break with the business, as occurred

27 with LGE’s divestiture, is sufficient to establish withdrawal, this is not a requirement that limits

28 the various other ways that a defendant may withdraw from a conspiracy. “Affirmative acts
                                                -7-                         3:07-MD-05944-SC
                 LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
     Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 13 of 19




 1 inconsistent with the object of the conspiracy and communicated in a manner reasonably

 2 calculated to reach co-conspirators [are] sufficient to establish withdrawal or abandonment.” U.S.

 3 Gypsum, 438 U.S. at 464–65 (emphasis added); see also Virginia v. McKesson Corp., No. C 11-

 4 02782 SI, 2013 WL 1287423, at *3 (N.D. Cal. Mar. 28, 2013) (“A defendant can establish

 5 withdrawal from a conspiracy in various ways.”). In the antitrust context, for example, a

 6 defendant’s “[r]esumption of competitive behavior” constitutes “affirmative action showing a

 7 withdrawal from the price-fixing enterprise.” See U.S. Gypsum, 438 U.S. at 464 (alteration in

 8 original); United States v. Nippon Paper Indus. Co., 62 F. Supp. 2d 173, 190 (D. Mass. 1999).

 9          II.     LGE’s Sale of Its CRT Assets, Coupled with Its Communication of that Sale to
                    Alleged Co-Conspirators, Establishes LGE’s Withdrawal from the Alleged
10                  Conspiracy
11                  A.     LGE’s Sale of Its CRT Business, and Its Shift from Being a CRT Seller
                           to a CRT Buyer, Were Inconsistent with the Object of the Alleged
12                         Price-Fixing Conspiracy.
13          The record readily establishes that LGE engaged in affirmative acts that were inconsistent

14 with the object of the price-fixing conspiracy. First, LGE sold its CRT business, exiting any

15 alleged CRT cartel. LGE’s exit from the business was “clean and permanent.” Morton’s Market,

16 198 F.3d at 839. Not only did LGE divest all of its CRT manufacturing assets, it also covenanted

17 not to engage in CRT manufacturing or sales as part of the divestiture and never returned to the

18 business.

19 See Hartge Decl. 26 (Kenneth Elzinga Dep. (Oct. 27) at 523:23–524:16)

20                                                                                .

21          In addition to exiting the CRT industry, LGE became a purchaser, rather than a seller, of

22 CRTs for integration into its finished products. Once LGE became a CRT customer, LGE bought

23 CRTs from LPD and its competitors at arm’s length. Ryu (LGE) Decl. ¶ 5; Hartge Decl. Ex. 22

24 (Frans Spaargaren (Philips) Dep. 66:1–68:7, 145:11–16); Hartge Decl. Ex. 13 (PHLP-CRT-

25 070838–39)

26                                                                                           .

27 Consistent with its arm’s-length purchasing practices, LGE consistently sought the lowest CRT

28 prices it reasonably could. See Ryu (LGE) Decl. ¶ 4; Hartge Decl. Ex. 7 (Duk Chul Ryu (LGE)
                                                 -8-                         3:07-MD-05944-SC
                  LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
         Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 14 of 19




 1 Dep. 239:20-240:2; 284: 14-19). LGE did not u·eat LPD any differently in this regard,3 buying

 2 CRTs from other pmchasers when LPD 's prices were not competitive.4 Ryu (LGE) Decl. ~ 4;

 3 Hmige Decl. Ex. 7 (Duk Chul Ryu (LGE) Dep. 240:24-241:2); Ryu (LGE) Decl. Ex. F

 4 (LGE00068331 E) (4/8/2007 email from one LGE official to another suggesting that LGE not

 5 pmchase from LPD unless it could match Samslmg SDI's price); Ryu (LGE) Decl. Ex. G

 6 (LGE00068402E), at 7-1 0 (1119/05 email from LGE to LPD explaining that LGE had pmchased

 7 from Orion, LPD 's competitor, because its prices were lower (written in response to LPD 's

 8   1118/05 email to LGE complaining about LGE 's decision to pm chase from Orion "without saying

 9 a word to LPD")); Ryu (LGE) Decl. Ex. E (LGE00066800E) (7/7/2006 LGE email stating:

10 "[N]ote that the negotiated prices for Q3 are the fmal prices determined by negotiating with LPD,

11   under the condition that the quotation prices of the ones such as SDIICPT are met."). LGE 's

12 actions as an mm's length pm chaser of CRTs seeking the lowest competitive price could hardly be

13   deemed "consistent" with the objectives of the alleged conspiracy. US. Gypsum, 438 U.S. at 464.

14 LGE, having sold its CRT business, was no longer competing in the CRT mm·ket, and its actions

15   as a CRT pmchaser were inconsistent with the objective of the alleged conspiracy, akin to the

16 "resumption of non nal competition" that can supp01i a fin ding of withdrawal. See US. Gypsum,

17 438 U.S . at 464; Nippon Paper, 62 F. Supp. 2d at 190.

18                  B.      LGE's Sale oflts CRT Business Was Well-Publicized, Putting Alleged
                            Co-C onspirators on Notice as to Its Withdrawal
19
             LGE's withdrawal via the diveshnent of its CRT assets, and its subsequent shift in status
20
     from a CRT seller to a CRT pm chaser, were widely an d publicly "communicated in a manner
21

22
     3
    Indeed, price negotiations between LGE and LPD could be "fierce." Hmige Decl. Ex. 7 (Duk
23 Chul Ryu (LGE) Dep. 285:18- 23); see Ryu (LGE) Decl. ~ 5; Ryu (LGE) Decl. Exs. H, B, D, A, I,
   C (LGE00075331E, LGE00068339E, LGE00069466E, LGE00084555E, LGE00065495E,
24 LGE00077004 & LGE77006 (attachment to LGE00077004); Hmige Decl. Ex. 25 (PHLP-CRT-
25 018339); Ex. 7 (Duk Chul Ryu (LGE) Dep. 284:20- 285:8, 286: 15- 22).

26
                    Decl. Ex. 7 (Duk Chul Ryu (LGE) Dep. 232:11- 233:3) (listing different
27 suppliers from which LGE pmchased CRTs, including Samsung SDI, Mitsubishi, Orion, and
   Thai-CRT, ainong others) .
28
                                                 -9-                         3:07-MD-05944-SC
                 LGE' S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
     Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 15 of 19




 1 reasonably calculated to reach co-conspirators,” U.S. Gypsum, 438 U.S. at 464–65. LGE’s exit

 2 from the CRT industry was widely reported in major news media, including The New York Times,

 3 The Wall Street Journal, Xinhua News Agency, Reuters, and Korea JoongAng Daily. See, e.g.,

 4 Hartge Decl. Ex.1 (Suzanne Kapner, LG of Korea and Philips Set Screen-Making Venture, N.Y.

 5 Times, Nov. 28, 2000, http://www.nytimes.com/2000/11/28/business/lg-of-korea-and-philips-set-

 6 screen-making-venture.html); Hartge Decl. Ex. 2 (James M. Dorsey, Philips Electronics, Korea’s

 7 LG Expand Tie-Ups—Cathode-Ray Tube Venture, Talks on Mobile Phones Follow Big Screens

 8 Deal, Wall St. J., Nov. 28, 2000); Hartge Decl. Ex. 3 (LG, Philips to Establish CRT Joint Venture,

 9 Xinhua News Agency, Nov. 28, 2000); Hartge Decl. Ex. 4 (LG Elec Says Philips Deal Almost

10 Done, Reuters, Nov. 27, 2000); Hartge Decl. Ex. 5 (Sunny Yang, LG Electronics Says Philips Tie

11 Cures Ills, Korea JoongAng Daily, Nov. 28, 2000,

12 http://koreajoongangdaily.joins.com/news/article/article.aspx?aid=1882016) (interview with

13 LGE’s CEO discussing the joint venture’s expected benefits). This extensive reporting by some of

14 the world’s most widely-read news organizations is more than sufficient to demonstrate that

15 LGE’s withdrawal was “communicated in a manner reasonably calculated to reach co-

16 conspirators,” U.S. Gypsum, 438 U.S. at 464–65. See Morton’s Market, 198 F.3d at 839; see also

17 In re Potash Litig., 954 F. Supp. 1334, 1391 (D. Minn. 1997) (finding that the widespread, public

18 reporting of a conspiracy defendant’s sale of a business in the media is “reasonably expected to

19 adequately notify . . . alleged co-conspirators” of withdrawal).

20          Moreover, the contemporaneous records of alleged co-conspirators, coupled with

21 testimony by their officials as to their knowledge of LGE’s exit from the CRT industry, further

22 confirm that they were aware of LGE’s withdrawal.

23

24

25

26                                                                                             Hartge

27 Decl. Ex. 8 (Heiser Dep. Ex. 2629 (HEDUS-CRT00188630–32))                              see Hartge

28 Decl. Ex. 20 (Thomas Heiser (Hitachi) Dep. (Mar. 18, 2014) 128:11–129:19)
                                               -10-                        3:07-MD-05944-SC
                LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
      Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 16 of 19




 1

 2                                                      see also Hartge Decl. Ex. 12 (HEDUS-

 3 CRT00164948–51) (11/27/2000 internal Hitachi email forwarding information about LPD);

 4 Hartge Decl. Ex. 11 (HDP-CRT00026061–62)

 5

 6                            See, e.g., Hartge Decl. Exs. 16, 17 (C.C. Liu (Chunghwa) Dep. 40:1–7,

 7 524:23–525:11)

 8         ; Hartge Decl. Ex. 18 (Hirokazu Nishiyama (Panasonic) Dep. 38:24–39:7)

 9                                                                                                               ;

10 Hartge Decl. Ex. 15 (I.H. Song (Samsung SDI) Dep. 388:5–18)

11

12                        ; Hartge Decl. Ex. 21 (W.R. Kim (Samsung SDI) Dep. 399:19–24)
13

14

15           III.     Fundamental Notions of Corporate Separateness Preclude Holding LGE
                      Liable for LPD’s Conduct
16
             LGE’s actions in divesting its CRT business, publicizing that fact, and becoming a CRT
17
     buyer seeking competitive prices are sufficient to establish withdrawal as a matter of law. LGE’s
18
     minority ownership interest in LPD does not justify a different result.
19
             “It is a general principle of corporate law deeply ingrained in our economic and legal
20
     systems that a parent corporation . . . is not liable for the acts of its subsidiaries,” United States v.
21
     Bestfoods, 524 U.S. 51, 61 (1998), and the idea that a minority shareholder is similarly not
22
     responsible by virtue of equity ownership is also not subject to question. There are only two
23
     circumstances under which a parent company can be held liable for a subsidiary’s antitrust
24
     violations: (1) if the parent “performed acts sufficient to create liability[] or actively influenced
25
     [the subsidiary] in its violations”; or (2) the subsidiary is an alter ego or agent of the parent. See
26
     H.J. Inc. v. Int’l Tel. & Tel. Corp., 867 F.2d 1531, 1549 (8th Cir. 1989); see also Drinkwine v.
27
     Federated Publ’ns, Inc., 780 F.2d 735, 741 (9th Cir. 1985) (affirming a grant of summary
28
                                                   -11-                        3:07-MD-05944-SC
                    LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
      Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 17 of 19




 1 judgment to an antitrust defendant, explaining that the defendant “cannot be sued directly simply

 2 because it owns . . . stock [in Federated, another defendant],” given that the plaintiff failed to show

 3 that Federated was an alter ego of the antitrust defendant).

 4           The Court’s order denying LGE’s motion to dismiss noted that “the withdrawal dispute

 5 hinges on facts about Philips and LG’s involvement in their joint venture” which the Court

 6 declined to resolve at the pleading stage. MTD Order at 35. Extensive discovery since that point,

 7 however, has confirmed that the DAPs lack any evidence sufficient to raise a triable issue that

 8 LGE’s “involvement” in LPD’s affairs warrants applying either of the two exceptions here.

 9                   A.      LGE Did Not Participate in the Conspiracy After Selling Its CRT
                             Business
10
             After exiting the industry by selling its CRT assets, LGE did not engage in any
11
     conspiratorial activities “sufficient to create liability” in its own right. See H.J. Inc., 867 F.2d at
12
     1549.
13
                      See, e.g., Hartge Decl. Ex. 21 (W.R. Kim (Samsung SDI) Dep. 399:19–24). As a
14
     customer, LGE was not in a position to agree to any target prices for CRTs once it divested its
15
     CRT assets to LPD. To the extent that LGE employees had meetings or communications with
16
     CRT manufacturers, that would be expected in its role as a customer. See, e.g., Ryu (LGE) Decl.
17
     Ex. A (LGE00084555), at 2–3; id. Ex. E (LGE00066800E) (examples of communications between
18
     LGE and CRT manufacturers regarding LGE’s procurement needs). DAPs have produced no
19
     competent evidence otherwise, nor have they produced evidence indicating that LGE engaged in
20
     any conspiratorial activity “sufficient to create liability” after LPD’s formation.
21
             Nor can LGE be implicated in LPD’s allegedly conspiratorial activity by virtue of its right
22
     to appoint three members of LPD’s six-person Supervisory Board. That body had no involvement
23
     in any of LPD’s allegedly conspiratorial activity, and there is no evidence that any wrongful
24
     activity that occurred was reported to LGE or the Supervisory Board members that it had
25
     appointed. The Board’s role was limited to providing high-level strategic guidance, and it had no
26
     “management responsibilities over the price that LPD charged for CRTs, or the volume of CRTs
27

28
                                                -12-                        3:07-MD-05944-SC
                 LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
         Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 18 of 19




 1 that LPD produced, or the customers that LPD sold to.” See Hartge Decl. Ex. 9 (Spaargaren Dep.

 2 Ex. 4001 ¶¶ 41, 43).

 3           Accordingly, there was no discussion at Supervisory Board meetings of LPD’s price-fixing

 4 activities. See, e.g., Hartge Decl. Ex. 23 (Young Bae Na (LGE) Dep. 265:3–25) (testimony from a

 5 former Supervisory Board member that during his tenure on the Supervisory Board, he never

 6 heard any reference to any of LPD’s alleged cartel activities); Hartge Decl. Ex. 22 (Frans

 7 Spaargaren (Philips) Dep. 148:10–25)

 8

 9                  B.      LPD Is Not An Alter Ego or Agent of LGE
10           There is no basis for a colorable argument that LPD is an alter ego or agent of LGE.

11 Moreover, DAPs have waived any argument to this effect in prior proceedings.5 DAPs’ Reply Br.

12 Supp. Objections to Special Master’s R&R Re: Philips’ and LG’s Mot. to Dismiss DAPs’

13 Compls., July 26, 2013, ECF. No. 1800, at 6 n.4 (explaining to this Court that DAPs “do not

14 assert” that LGE is “liable under a vicarious liability theory based on [its] ownership of LPD”).

15                                            CONCLUSION
16           For the foregoing reasons, LGE respectfully requests that the Court enter partial summary

17 judgment in its favor as to any of DAPs’ damages allegedly incurred after LGE withdrew from the

18 alleged conspiracy on July 1, 2001.

19

20

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22

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24

25   5
     Only Dell, Sharp, Tech Data, and Viewsonic did not join this brief. The fact remains, however,
26 that there is no evidence that LPD was “[a] mere instrumentality or business conduit of” LGE,
   such that “the corporate form may be disregarded,” W. Fletcher, Cyclopedia of the Law of
27 Corporations § 41.10.                                                   See Hartge Decl. Ex. 22
   (Frans Spaargaren (Philips) Dep. 139:15–143:11).
28
                                                -13-                        3:07-MD-05944-SC
                 LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
     Case 4:07-cv-05944-JST Document 3086 Filed 11/12/14 Page 19 of 19




 1                                    Respectfully submitted,

 2 DATED: November 7, 2014            MUNGER, TOLLES & OLSON LLP
 3

 4

 5                                    By:        /s/ Jerome C. Roth
                                            JEROME C. ROTH
 6

 7                                    Attorneys for Defendants LG ELECTRONICS, INC.,
                                      LG ELECTRONICS U.S.A., INC., and LG
 8                                    ELECTRONICS TAIWAN TAIPEI CO., LTD.

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             LGE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT;
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
